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                    This is a General Agent (GA) Contract between the GA referred to below
             (the "GA", "You" or "Your) and The Baltimore Life Insurance Company (the "Company").


    AGREEMENT                                                       the extent of treatment. Policies are not to be
    The GA agrees to represent the Company, subject                 delivered unless each person insured by the policy
    to the authority delegated herein, and to abide by              is in the same health and insurable condition as
    the terms of this Contract. The Company agrees to               represented in the policy application.
    compensate the GA according to the terms of this           d.   Use best efforts to provide satisfactory service
    Contract and the compensation schedules, attached               to those policyholders solicited by or assigned
    hereto and made a part hereof. The GA is an                     to the GA.
    independent contractor, and this Contract does not         e.   Recommend agents and sub-agents for
    create an employer/employee relationship between                appointment to act as an agent of the Company.
    the Company and the GA, or between any of the                   All such appointments must be approved at the
    GA’s appointed sub-agents.                                      sole discretion of the Company. The company
II. AUTHORITY        AND RESPONSIBILITY OF THE GA                   may terminate the appointment of any agent or
    The GA is authorized by the Company to perform                  sub-agent recommended by GA with our without
    the following duties. The GA agrees to perform these            cause and with or without GA’s approval.
    duties according to the Company’s practices and            f.   Use best efforts to supervise agents and sub-
    procedures, which may change from time to time.                 agents and have standards in place so as to
    a. Procure and submit to the Company personally                 reasonably assure that its agents and sub-
         and through sub-agents applications for life               agents are in conformity with the terms of
                                                                    their contracts including but not limited to the
         insurance, health insurance and annuities. Assure
         that applications are accurately completed and             Company’s Market Conduct Training Manual.
         fully disclose to the Company all facts which         g.   Be responsible for all money received by the
         could affect the Company’s decision regarding              GA, RGA, agents and sub-agents contracted by
                                                                    the GA on behalf of the Company.
         the issuing of the policy. Ensure that the
                                                               h.   Be responsible for any and all indebtedness
         application is reviewed by the applicant before it
                                                                    to the Company of the GA and all agents and
         is signed by the applicant and that it is signed in
                                                                    sub-agents contracted by the GA. GA agrees
         your presence or in the presence of sub-agent.
                                                                    to reimburse the Company for all costs and
    b. Assure that all sales, marketing and service
                                                                    expenses incurred in collecting such debt.
         activities involving the Company or any of the
                                                               i.   Procure and maintain all necessary licenses
         Company’s products which are conducted by
                                                                    required for the GA and all GA’s agents and/or
         the GA and all sub-agents appointed by the
                                                                    sub-agents to solicit applications for or sell or
         GA strictly adhere to the Company’s Market
                                                                    service any of the Company’s policies.
         Conduct Training Manual as well as any other
                                                                    Conform to all applicable laws and regulations
         communicated rules of the company and
                                                                    governing the solicitation, sale and servicing of
         incorporated herein by reference to form a part
                                                                    life insurance, health insurance and annuities.
         of this contract.
                                                               k.   Be responsible for all property of the Company
    c. Those policies provided to you for delivery
                                                                    lent or leased to the GA or GA’s sub-agents,
         issued on the applications referenced in sub-
                                                                    and conform to the terms of any loan or lease
         paragraph (a) above should be promptly
         delivered to the policyowner, provided the                 agreement.
                                                               1.   Cooperate at all times with the Company or
         initial premium has been paid. If, at the time
                                                                    any of its representatives in any inquiry or
         of delivery, the insured is not in the same
                                                                    investigation as it may relate to the business
         health and insurable condition as represented
         in the policy application, the GA or the GA’s              of the Company, including but not limited to,
         appointed subagent should not deliver the                  any within the context of an administrative,
         policy but rather should immediately forward               regulatory, or judicial proceeding. GA will
         to the Company full details including the nature           notify the Company promptly upon receipt of
         of the disorder, the date of inception, and                any complaint. In accordance with applicable

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          laws and regulations you shall maintain                through the GA. The GA is responsible for
          accurate and complete books, records,                  and shall account for and keep records of any
          accounts, correspondence or other data relating        compensation earned by its agents or sub-
          to all the business of the Company. The                agents which Company pays through the GA.
          Company shall at all times have the right to      c.   Except as otherwise set forth in this Contract,
          inspect any and all books, records, accounts,          compensation, which is earned under the terms
          correspondence, or data in your office or kept         of this Contract and that is set forth in the
          by you or any agent so far as the same may              "Schedule of Compensation," will be deemed
          relate to the business of the Company, and to          vested, but will be forfeited if the Contract is
          make such extracts or copies as it may desire.         terminated under the provisions of paragraph
III. LIMITS OF THE GA’S AUTHORITY                                V., section d and section e., subsections 1.
     The GA agrees NOT to perform any acts on behalf             through 8, or if the GA has not met production
     of the Company for which the GA is not authorized,          requirements at the time of termination as set
     including, but not limited to, the following:               forth in the "Schedule of Compensation."
     a. Incur any debt, expense or liability on behalf of   d.   The Company may elect to accumulate the
          the Company.                                           GA’s compensation payments until a payment
     b. Modify or waive any of the provisions of the             in excess of $50.00 is due for electronic funds
          Company’s policies, applications, or contracts;        transfer. Amounts not paid by electronic
          or bind the Company in any way.                        funds transfer will have higher minimums that
     c. Misquote or incorrectly illustrate any rates or          are established by internal policy. If, in any
          values for any of the Company’s products.              calendar year, the total compensation due to a
     d. Use any materials, proposals, illustrations, or          GA no longer appointed with the Company is
          advertising identified with the Company or             less than $400.00, this contract will terminate,
          any of the Company’ products, which have not           all compensation will stop at the end of that
          been previously submitted to the Company for           calendar year, and the Company shall have no
          approval and have not received specific written        further liability under this Contract.
          approval from the Company.                        e.   Any indebtedness of the GA to the Company,
     e. Collect any money on behalf of the Company,              whether resulting from acts of the GA, acts of the
          except for initial premiums on business                GA’s agents, sub-agents or otherwise, shall be the
          solicited by the GA.                                   responsibility of the GA and will be a lien on all
     f. Make any representation or state any opinion             compensation payable to the GA. The Company
          regarding the validity or payment of any claim.        may apply any compensation payable to the GA
IV. COMPENSATION                                                 to offset indebtedness owed to the Company
     As compensation for services, the Company agrees            at any time. The Company’s right to collect
     to pay the GA according to the "Schedule of                 payment of any indebtedness owed by GA shall
     Compensation" attached hereto and made a part               not be limited solely to offsetting compensation
     hereof as follows:                                          owed the GA by Company. The GA shall remain
     a. This compensation will be paid only after                fully liable for any remaining indebtedness. Any
          receipt in the Home Office of premiums. If a           indebtedness which remains outstanding for a
          premium is refunded for any reason, the GA             period of 60 days after demand by the Company
          must return to the Company any compensation            shall bear interest at a rate of 3% above the
          and fees paid on that refunded premium. The            prime rate listed in the Wall Street Journal. The
          "Schedule of Compensation" may be modified,            provisions of this Paragraph shall survive the
          altered or changed by the Company in any way           termination of this Contract.
          upon notice to the GA, and will affect business   f.   Subject to paragraphs IV. d. and IV. e. above,
          submitted to the Company after the effective           upon the death of the GA, this Contract will
          date of the change.                                    be vested if at the time of the GA’s death
     b. Overriding compensation will be paid to                  the production requirements set forth in the
          the GA on business produced by the GA’s                Schedule of Compensation have been met.
          agents and or sub-agents. The amount of the       g.   No compensation will be paid when an existing
          overriding compensations paid to the GA is             policy issued by the Company on the same life
          the difference between the compensation in             has terminated within six (6) months of the
          the "Schedule of Compensation" attached                date of the new application being submitted by
          to the GA’s Contract and the compensation,             the GA or the GA’s agents or sub-agents. If an
          if any, paid by the Company directly to the            existing policy terminates within six (6) months
          GA’s agents and sub-agents or owing to                 of the date of the new policy on the same life,
          the GA’s agents and sub-agents but paid                the GA agrees to refund first year premiums on


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    the original policy not to exceed the first year          without any further obligation to you.
    commission on the second policy.                   VI. GENERAL PROVISIONS
TERMINATION                                                a. The Company may reject applications for
This Contract, together with any riders, supplements          policies, limit the amount or plan of insurance,
and endorsements hereto, shall terminate on the               or require a higher premium than applied for, if
occurrence of any of the following:                           not prohibited by law.
a. Thirty (30) days following the mailing of               b. The Company may alter or withdraw existing
    written notice by either party to the last known          insurance products, introduce new insurance
    address of such other party.                              products, and enter or withdraw from
b. Upon the death of the GA.                                  territories, at its sole discretion. The Company
c. Upon the termination of the GA’s life or health            shall not be liable to GA or any of GA’s agents
    insurance license.                                        or sub-agents in connection with such actions.
d. Upon a material breach of any of the terms of           c. Failure of the Company to promptly enforce
    this Contract as determined by the Company in             non-compliance with the terms of this Contract
    its sole and absolute discretion.                         does not constitute a waiver of such terms.
e. Not withstanding any other provision in this               Further, the waiver by the Company of any
    Contract, and whether such events occur prior             term or right of enforcement contained in this
    to or after termination of this Contract, upon            Contract shall not constitute a waiver of any
    the occurrence of any of the events set forth in          subsequent breach or right of enforcement.
    paragraph V., section e., subsections 8. through       d. This Contract supersedes any previous
    8. The provisions of paragraph V., section                Contracts between the GA and the Company.
    e., subsections 1. through 7. shall survive the           It does not release the GA from financial
    termination of this Contract.                             obligations owed or assumed prior to its
    1. Upon the commission of any act of fraud,               effective date.
         theft or misappropriation of funds,               e. No modification, amendment, or assignment of
         involving the Company, by the GA.                    this Contract will be valid unless approved in
    2. Submission to the Company of information               writing by a Vice President or President of the
         which the GA knows to be false.                      Company.
    3. Failure to disclose to the Company                  f. The GA shall maintain error and ommissions
         any medical or personal history of any               insurance and provide Company evidence of
         applicant for any of the Company’s policies          such coverage upon request.
         of which the GA has knowledge.                    g. The financial obligations of this Contract
    4. Inducing any policyholder to terminate any             shall be binding upon the parties, their heirs,
         policy with the Company without the prior            successors and assigns.
         written approval of the Company.                  h. You agree to hold harmless, defend (with
    5. Upon the GA pleading guilty or nolo                    counsel reasonably acceptable to the Company)
         contendere or upon being convicted of a              and indemnify the Company against any
         crime involving moral turpitude.                     claims, judgments, settlements, costs, expenses
    6. Any action on your part that could                     or other damages, including attorneys fees,
         reasonably be construed to be defamatory,            which the Company may suffer or incur as
         slanderous, libelous, or materially                  the result of any breach of this Contract or
         prejudicial to the Company.                          any negligent, fraudulent, or unauthorized
    7. Failure to fully pay outstanding debt owed             act, or error or omission, of you, any of your
         to the Company within 60 days of such                employees, agents, officers, or sub-agents. The
         date such debt is incurred.                          Company shall have exclusive authority to
    8. Upon any act that violates market conduct              direct the defense and effect any settlement in
         rules as described in the disciplinary               any action for which the foregoing indemnity
         actions section of the Market Conduct                may apply. You shall upon demand, pay the
         Training Manual.                                     Company as a debt due hereunder any sums
    Upon termination of this Contract, you shall              due to it in accordance with this paragraph, as
    immediately pay to the Company all sums due               well as any monies expended by the Company
    and deliver to the Company all brochures,                 in answering or defending any attachment,
    publications, and other materials connected               garnishment, or other proceedings involving
    with the sale of Company products. Upon                   you, your employees, or officers, or any agent
    termination for cause, you forfeit all rights to          or other individual under your direct control
    future commissions, and the Company reserves              and supervision. You agree that under no
    the right to retain, reassign, or cancel any              circumstances whatsoever shall the Company
    of your general agents, agents or subagents               be liable to you (or anyone claiming through
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         you) for any lost profits or indirect, incidental,    You agree that any and all "Nonpublic Personal
         punitive, or consequential damages in connection      Information" obtained by you on behalf of or
         with this Contract.                                   from the Company in the performance of your
   i.    This Contract is governed by the Laws of the          duties and obligations under this Contract shall
         State of Maryland (without regard to any choice       be used by you only as necessary to fulfill your
         of law provisions) and each party hereto agrees to    obligations under this Contract and shall not be
         accept service of process in and to submit to the     disclosed to any other person unless specifically
         jurisdiction of the federal or state courts located   authorized in writing by the Company, or the
         within the State of Maryland for any matter           person who is the subject of the "Nonpublic
         involving this Contract. In any action, suit or       Personal Information," or as otherwise permitted
         proceeding brought by the Company, you agree          by law. "Nonpublic Personal Information"
         not to assert that such action, suit or proceeding    has the meaning set forth in section 509 of the
         is brought in an inconvenient forum or that           Gramm-Leach-Bliley Act (P.L. 106-102) and
         the venue of the action, suit or proceeding is        any federal and state laws and regulations that
         improper.                                             implement that Act and includes but is not
   j.    The provisions of this Contract shall be deemed       limited to name, address, and financial or health
         severable. In the event any provision in this         information of a policyholder, insured, applicant,
         Contract is determined to be unenforceable            or prospect. You agree to establish physical,
         or invalid, such provision shall nonetheless          electronic, and administrative procedures to
         be enforced to the fullest extent permitted by        protect the security and confidentiality of
         applicable law, and such determination shall not      "Nonpublic Personal Information" in compliance
         affect the validity and enforceability of any other   with the Act and any and all federal and state
         provisions in this Contract.                          laws and regulations that implement the Act.
   k.    The Company reserves the right in its sole            You agree that the Company will have at all
         discretion when settling disputed claims or           times, both during and after the termination
         complaints of a policyholder to refund any            of this Contract, the right to communicate in
         premium or premiums paid on a policy or               any fashion with the persons insured under the
         contract produced under this Contract directly        policies issued hereunder or the owners of such
         by the GA or by an agent or sub-agent of the          policies for any purpose.
         GA. If such a refund is made, other than as part      Notwithstanding any provision of this Contract
         of the benefits provided by the policy or contract,   to the contrary, the termination of this Contract,
         the GA shall be charged with and/or shall repay       whether with or without cause, shall be construed
         to the Company, any compensation paid to GA           as a termination of: (a) your appointment
         or GA’s agents or sub-agents on the premium or        and your authority under Paragraph I of this
         premiums so refunded.                                 Contract; (b) your authority under Paragraph
   1.    You understand and acknowledge that during            II of this Contract; and (c) the Company’s
         the term of this Contract you may gain access to      obligations under Paragraph IV of this Contract.
         certain confidential and proprietary information      All other provisions of this Contract shall survive
         relating to the Company and its business and you      any termination of this Contract.
         agree ro kccp a]] such information confidential.




                                                                      02/27/2018

Signature of General Agent                                         Date
                                                                          02/27/2018
Signature of Appointing Agent/Agency                               Date

        Securus Direct LLC
Name of Appointing Agent/Agency
                                                                                03/1312018
The Baltimore Life Insurance Company                               Date

                                 --NOT EFFECTIVE UNTIL SIGNED BY COMPANY--

                                                                                                 Form 8153-0913



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                                          The Baltimore Life°
                                                   COP1PAN IES
                            Amendment to All Baltimore Life Contracts
                                             Effective March 25, 2015

All Baltimore Life contracts are hereby amended to prohibit the "Use or permit on behalf of the Company an auto-dialer
device for any means, or the use or permit on behalf of the Company a predictive dialer device without the prior written
approval from the Company." Language specific to your contact is shown below.

Please print and retain a copy of this amendment with your Baltimore Life contract.


INDEPENDENT MARKETING ORGANIZATION CONTRACT
Section 111. (LIMITS OF THE IMO’S AUTHORITY) of your contract which reads in part : "The IMO agrees NOT to perform
any acts on behalf of the Company for which the IMO is not authorized, including, but not limited to, the following:", be
amended to add new subsection g. which provides "Use or permit on behalf of the Company an auto-dialer device for
any means, or use or permit on behalf of the Company a predictive dialer device without the prior written approval from
the Company."


AGENT CONTRACT
Section 111. (LIMITS OF THE AGENT’S AUTHORITY) of your contract which reads in part : "The Agent agrees NOT to
perform any acts on behalf of the Company for which the Agent is not authorized, including, but not limited to, the
following:", be amended to add new subsection g. which provides " Use or permit on behalf of the Company an auto-
dialer device for any means, or use or permit on behalf of the Company a predictive dialer device without the prior
written approval from the Company."


SUB-AGENT CONTRACT
Section 111. (LIMITS OF THE SUB-AGENT’S AUTHORITY) of your contract which reads in part : "The Sub- Agent agrees
NOT to perform any acts on behalf of the Company for which the Sub- Agent is not authorized, including, but not limited
to, the following:", be amended to add new subsection g. which provides " Use or permit on behalf of the Company an
auto-dialer device for any means, or use or permit on behalf of the Company a predictive dialer device without the prior
written approval from the Company."


CAREER AGENCY SALES GROUP EMPLOYMENT AGREEMENT
Section iii. (LIMITS OF EMPLOYEE’S AUTHORITY) of your contract which reads in part : "The Employee agrees NOT to
perform any acts on behalf of the Company for which the Employee is not authorized, including, but not limited to, the
following:", be amended to add new subsection L. which provides " Use or permit on behalf of the Company an auto-
dialer device for any means, or use or permit on behalf of the Company a predictive dialer device without the prior
written approval from the Company."


GENERAL AGENT CONTRACT
Section 111. (LIMITS OF THE GA’S AUTHORITY) of your contract which reads in part : "The GA agrees NOT to perform
any acts on behalf of the Company for which the GA is not authorized, including, but not limited to, the following:", be
amended to add new subsection g. which provides "Use or permit on behalf of the Company an auto-dialer device for
any means, or use or permit on behalf of the Company a predictive dialer device without the prior written approval from
the Company."




                                         The Baltimore Life Insurance Company
                         10075   Red Run Boulevard I Owings Mills, MD 21117 I (800) 628-5433
                                                                                                         Form 8640-0315



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